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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Criminal Case No. 17-CR-00168-CMA

UNITED STATES OF AMERICA,

               Plaintiff,

v.

KAREN LYNN MCCLAFLIN,

           Defendant.
______________________________________________________________________

 PRELIMINARY ORDER OF FORFEITURE FOR A PERSONAL MONEY JUDGMENT
              AGAINST DEFENDANT KAREN LYNN MCCLAFLIN
______________________________________________________________________

         THIS MATTER comes before the Court on the United States’ Motion for

Preliminary Order of Forfeiture for a Personal Money Judgment against Defendant

Karen Lynn McClaflin pursuant to Rule 32.2(b)(2) of the Federal Rules of Criminal

Procedure. The Court having read said Motion and being fully advised in the premises

finds:

         THAT on May 17, 2017, an Information was filed which charged defendant Karen

Lynn McClaflin in Counts One and Two with violations of 18 U.S.C. § 1343 and 18

U.S.C. § 1957. The Information also sought forfeiture in the form of a personal money

judgment against defendant Karen Lynn McClaflin pursuant 18 U.S.C. § 981(a)(1)(C),




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18 U.S.C. § 982(a)(1), and 28 U.S.C. § 2461(c), in the amount of proceeds obtained by

the scheme and by the defendant. (Doc. 1).

       THAT on June 21, 2017, the United States and defendant Karen Lynn McClaflin

entered into a Plea Agreement, which provides a factual basis and cause to issue a

personal money judgment under 18 U.S.C. § 981(a)(1)(C), 18 U.S.C. § 982(a)(1), 28

U.S.C. § 2461(c), and Rule 32.2(b) of the Federal Rules of Criminal Procedure. (Doc.

11).

             THEREFORE, IT IS ORDERED, DECREED AND ADJUDGED:

       THAT $14,528,206.39 is subject to forfeiture as proceeds obtained by defendant

Karen Lynn McClaflin through commission of the offenses in Counts One and Two for

which she has pleaded guilty.

       THAT a Preliminary Order of Forfeiture for a Personal Money Judgment against

defendant Karen Lynn McClaflin in the amount of $14,528,206.39 shall be entered in

accordance with 18 U.S.C. § 981(a)(1)(C), 18 U.S.C. § 982(a)(1), and 28 U.S.C. §

2461(c).

       THAT payments made by the appointed receiver to the victims shall be credited

towards the $14,528,206.39 forfeiture money judgment.

       THAT pursuant to Federal Rule of Criminal Procedure 32.2(b)(4), this Forfeiture

Money Judgment shall become final as to the defendant at the time of sentencing and

shall be made part of the sentence and included in the judgment.




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      THAT this Preliminary Order of Forfeiture may be amended pursuant to the

Federal Rules of Criminal Procedure, Rule 32.2(e)(1).



      SO ORDERED this _________ day of April 2018.



                                 BY THE COURT:


                                 _________________________________
                                 CHRISTINE M. ARGUELLO
                                 United States District Court Judge




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